2:17-cv-00194-kjd Document140-10 Filed 03/06/20 Pagei1of6

EXHIBIT 8
2:17-cv-00194-kjd Document140-10 Filed 03/06/20 Page

EXHIBIT

In The Matter Of:
Misty Blanchette Porter, MD y.
Dartmouth-Hitchcock Medical Center, et al.

Edward Merrens, MD
Vol. I
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2:17-cv-00194-kjd Docurnept Nero E ¢4 93/06/20 Page 3 of 6
Confidential

74

the division. I don't know how it was posted or what
the, what the, what the recruitment process was.

Q. Are positions normally posted, or is there
sometimes a, just a one-on-one individual recruitment
effort?

A. Usually, we have a -- usually, we have a search
process. That may be a national search. It may be, it
may be more informal. It may be an internal search.
I'm not aware of the process that was, that the REI
division director recruitment undertook.

Q. If you could, just tell me a little bit more about
what's the normal course for hiring, especially at a
division director level?

A. Typically, it involves a national search, reaching
out to national societies and meetings, print ads,
networking amongst people, applicants, a search
committee, a winnowing process, interviewing potential
candidates, and making an offer.

Q. Did you have any concerns about hiring of David

Seifer in 2016?

A. Yes.

Q. What were those concerns?

A. I led our credentials committee at that time, and
his hiring was -- initially, he was hired in an

administrative role to join Dartmouth as the division

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2:17-cv-00194-kjd Document 449,19 E ey Re/06/20 Page 4 of 6
Confidential

75

director, and then he was brought in a short period of
time to be into a clinical role. So there was some
process there that we had some concerns about that,
and, independently, members of Oregon Health & Science
reached out to our faculty with concerns about his
practice, and those were discussed at our credentials

committee and with Dr. DeMars.

Q. What was the nature of the concerns of his
colleagues?

A. The concerns were that he didn't have the breadth
of -- he, he had a more limited focus in terms of his

approach to reproductive endocrinology, although
accomplished and everything. His type of -- he had a
different practice style and maybe different
capabilities than his colleagues at OHSU, and those,
those perspectives were shared with members at
Dartmouth, and there was, there was the suggestion that
he had also been asked to cease providing care in some
areas, and in my role I asked for more clarification
around his status at OHSU, the procedures he was asked
to stop, and whether this had been fully vetted for his
role here.

QO. You described that Dr. Seifer had a limited
breadth of skills. Did you have any concern about

whether somebody with a limited breadth of skills was a

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2:17-cv-00194-kjd Docu 4} i E ul! Pd ape Page 5 of 6
Confidential

77

time, but we had a committee that reviewed all
applicants. We actually had Dr. DeMars come before the
committee to explain her rationale for bringing him
forward and her understanding. She explained that she
thought the role here would be different, he would be a
good fit and would be -- he was an accomplished
physician in his own right and that she was,. had
expressed that she was not pleased that people from
OHSU had contacted us and expressed this concern
without her being able to counter it to some degree,
but there were concerns, and she ensured the committee
and myself that she would take personal responsibility
that he would be a success.
Q. Did you rely on her statements of support of
Dr. Seifer in -- well, I guess I should back up.

Did you, did you feel that your concerns were
adequately addressed?
A. Yes.
Q. And did you -- I don't know what the right word is
~~ approve, endorse, give a seal of approval to the
hiring of Dr. Seifer?
A. We allowed her to hire Dr. Seifer with the
understanding that she would ensure that he would be a
success in this role.

QO. What did that mean?

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2:17-cv-00194-kjd Docuag Py E ee R908/20 Page 6 of 6

Confidential
83

A. She expressed this when she met with the
committee, and that was a similar perspective. I don't
know why she thought that. I think her -- what we
understood at the time was that he may have had a
falling-out with his peers over issues that were not
around -- they just didn't -- it wasn't a good fit, and

I think she was saying this wasn't, he didn't have a
good fit and this is going to be a better fit and
didn't feel like their perspective as his peers was
justified. I think that's how we understood it.

Clearly, my understanding was that this hire was

hers to ensure success. That's how she left the
meeting.
Q. And, if it was not successful, what was the

consequence? What was understood to be the
consequence?

A. That it, this was, you know, this was on her and
her role and her, you know, if there's decisions about
her competence as a chair and her ability to lead this
division, if this is a -- you know, this would be --
she would own this in terms of a decision she made at a

leadership level but had implications for the

organization.
QO. It seems like this situation with the hiring of
Dr. Seifer stands out pretty clearly in your mind. Is

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